
In re Tucker, Randy, a/k/a; Seavey, Ken;— Plaintiff(s); applying for supervisory and/or remedial writs; Parish of Orleans, Criminal District Court, Div. “D”, No. 268-919.
Granted in part; denied in part. The district court is ordered to grant relator an out-of-time appeal with respect to ease No. 269-183 and to appoint counsel to handle the appeal. See Lofton v. Whitley, 905 F.2d 885 (5th Cir.1990). If appointed counsel, after review of the record, finds no basis for assigning error on appeal, he or she may follow the procedure outlined in State v. Benjamin, 573 So.2d 528 (La.App. 4th Cir.1990).
WATSON; J., not on panel.
